           Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-945V
                                          UNPUBLISHED


    THERESA CHRISTOPH,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: May 25, 2022
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


David Alexander Tierney, Rawls Law Group (Richmond), Richmond, VA, for Petitioner.

Mark Kim Hellie, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION ON JOINT STIPULATION 1

       On July 31, 2020, Theresa Christoph filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Table Injury – Shoulder Injury
Related to Vaccine Administration (SIRVA) – as a result of her September 27, 2019
influneza (“flu”) vaccination. Petition at 1; Stipulation, filed May 25, 2022, ¶¶ 1-2, 4.
Petitioner further alleges the vaccine was administered within the United States, that she
suffered the residual effects of her injury for more than six months, and that there has
been no prior award or settlement of a civil action on her behalf as a result of her injury.
Stipulation at ¶¶ 3-5; see Petition at ¶¶ 2, 13-14. “Respondent denies that [P]etitioner
sustained the onset of a SIRVA Table injury within the Table timeframe, that she
experienced the residual effects of this injury for more than six months, and further denies
that the flu vaccine caused [P]etitioner’s alleged left shoulder injury, any other injury, or
her current condition.” Stipulation at ¶ 6.
1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 2 of 7



       Nevertheless, on May 25, 2022, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $30,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of Court is directed to
enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                    2
             Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 3 of 7


,.


                  3Jn tbe Wntteb ~tates <!Court of jfeberal <!tlai111s
                                     OFFICE OF SPECIAL MASTERS


                                                            )
     THERESA CHRISTOPH,                                     )
                                                            )
                              Petitioner,                   )
                                                            )       Case No. 20-945V (ECF)
     v.                                                     )       CHIEF SPECIAL MASTER
                                                            )       CORCORAN
     SECRETARY OF HEAL TH                                   )
     AND HUMAN SERVICES,                                    )
                                                            )
                              Respondent.                   )



                                                STIPULATION

             The parties hereby stipulate to the following matters:

             I.      Theresa Christoph, petitioner, filed a petition for vaccine compensation under the

     National Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-l Oto -34 (the "Vaccine

     Program .. ). The petition seeks compensation for injuries allegedly related to petitioner·s receipt

     of the influenza ("flu .. ) vaccine, which is a vaccine contained in the Vaccine Injury Table (the

     '·Table''), 42 C.F.R. § I 00.3(a).

             2.      Petitioner received the vaccine on September 27, 2019.

             3.      The vaccination was administered within the United States.

             4.      Petitioner alleges that she sustained a left shoulder injury related to vaccine

     administration ("'SI RV A.. ) within the Table time period after receiving the flu vaccine. and

     alleges that she experienced the residual effects of this injury for more than six months.

             5.      Petitioner represents that there has been no prior award or settlement of a civil

     action for damages on her behalf as a result of her alleged injuries.
       Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 4 of 7


                                                                                                       ·1




       6.      Respondent denies that petitioner sustained the onset of a SIRVA Table injury

within the Table timeframe, that she experienced the residual effects of this injury for more than

six months, and further denies that the flu vaccine caused petitioner"s alleged left shoulder

injury, any other injury, or her current condition.

       7.      Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.      As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U .S.C. § 300aa-21 (a)( I), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

       A lump sum of $30,000.00 in the form of a check payable to petitioner. This amount
       represents compensation for all damages that would be available under
       42 U.S.C. § 300aa-l5(a).

       9.      As soon as practicable after the entry of judgment in this case, and after petitioner

has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(I), and an application. the parties will submit to further proceedings

before the special master to award reasonable attorneys· fees and costs incurred in proceeding

upon this petition.

        I 0.   Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa- I 5(g). to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs. insurance policies. Federal or
        Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 5 of 7




State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis.

        11.    Payment made pursuant to paragraph 8 of this Stipulation and any amounts

awarded pursuant to paragraph 9 of this Stipulation will be made in accordance with

42 U.S.C. § 300aa-15(i), subject to the availability of sufficient statutory funds.

        12.    The parties and their attorneys further agree and stipulate that, except for any

award for attorneys· fees and litigation costs, and past unreimbursed expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S .C. § 300aa-l 5(g) and (h).

        13.    In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity. and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit, and discharge the United States and

the Secretary of Health and 1-1 uman Services from any and all actions or causes of action

(including agreements. judgments. claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims. under the National Vaccine Injury Compensation

Program. 42 U.S.C.   ~   300aa-l 0 et seq., on account of, or in any way growing out of. any and all

known or unknown. suspected or unsuspected personal injuries to or death of petitioner resulting

from. or alleged to have resulted from. the flu vaccination administered on September 27. 2019.

as alleged by petitioner in a petition for vaccine compensation filed on or about July 31. 2020. in

the United States Court of Federal Claims as petition No. 20-945Y.
       Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 6 of 7




        14.    If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.

        15.    If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties·

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.    This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties· respective positions as to liability and/or

amount of damages, and further. that a change in the nature of the injury or condition or in the

items of compensation sought. is not grounds to modify or revise this agreement.

        17.    This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged left

shoulder injury or any other injury or her current condition.

        18.    All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators. successors. and/or assigns.

                                     END OF STIPULATION
         Case 1:20-vv-00945-UNJ Document 42 Filed 06/24/22 Page 7 of 7




Respectfully submitted,

PETITIONER:


<~~
THERESA CHRISTOPH

ATTORNEY OF RECORD FOR                                         AUTHORIED REPRESENTATIVE
PET)ITIONER:                                                   OF THE ATTORNEY GENERAL:

  //, _j -.--=---                          -                   '~ ~--.,.
DA YID A. TIERNEY                                              HEATHER L. PEARLMAN
Counsel for Petitioner                                         Deputy Director
Rawls Law Group                                                Torts Branch, Civil Division
21 I Rocketts Way, Suite 100                                   U.S. Department of Justice
Richmond, VA 23231                                             P.O. Box 146
dtiemey@rawlslawgroup.com                                      Benjamin Franklin Station
(804) 782-0617                                                 Washington, DC 20044-0146


AUTHORIZED REPRESENTATIVE                                      ATTONEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                     RESPONDENT:
AND HUMAN SERVICES:
 George R. Grimes     DlgltallysignedbyGeorgeR.
                      Grimes·S14
-514                  Date: 2022.05.12 17:41 :19 -04'00'

CDR GEORGE REED GRIMES, MD, MPH                                MARK K. HELLIE
Director, Division of Injury                                   Trial Attorney
  Compensation Programs                                        Torts Branch, Civil Division
Health Systems Bureau                                          U.S. Department of Justice
Health Resources and                                           P.O. Box 146
  Services Administration                                      Benjamin Franklin Station
U.S. Department of Health and                                  Washington, DC 20044-0146
  Human Services                                               mark.hellie@usdoj.gov
5600 Fishers Lane, 08N 1468                                    (202) 616-4208
Rockville, MD 20857




Dated:
         ----,----------




                                                           5
